           Case 3:04-cr-05460-RBL        Document 133      Filed 10/13/06       Page 1 of 5



 1                                                    Judge Burgess
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT TACOMA
 9   UNITED STATES OF AMERICA,                   )
                                                 )
10                         Plaintiff,            )
                                                 )   NO. CR04-5460FDB
11                  v.                           )
                                                 )   PRELIMINARY
12   SCOTT LANEY,                                )   ORDER OF FORFEITURE
                                                 )
13                         Defendant.            )
                                                 )
14                                               )
15
              Pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, and based upon
16
     the guilty plea of Defendant SCOTT LANEY to Conspiracy to Traffic in Counterfeit
17
     Labels and Computer Program Documentation, as charged in Count One of the
18
     Indictment, in violation of Title 18, United States Code, Sections 2318 and 371; and to
19
     Conspiracy to Engage in Money Laundering, as charged in Count Two of the Indictment,
20
     in violation of Title 18, United States Code, Section 1956(h), and upon the terms of the
21
     Plea Agreement filed in this matter between SCOTT LANEY and the United States, it is
22
     hereby
23
              ORDERED, ADJUDGED and DECREED that pursuant to Title 28, United States
24
     Code, Section 2461(c), Title 18, United States Code, Section 981(a)(1)(C), and Title 18,
25
     United States Code, Section 982, SCOTT LANEY’s interest in the following real and
26
     personal properties is hereby forfeited to the United States of America:
27
              a.    The residence and real property located at 23501 NE 120th Court,
28
     Battle Ground, Washington;
     PRELIMINARY ORDER OF FORFEITURE/LANEY - 1                                     UNITED STATES ATTORNEY
                                                                                    700 Stewart Street, Suite 5220
     (CR04-5460FDB)                                                                Seattle, Washington 98101-1271
                                                                                            (206) 553-7970
            Case 3:04-cr-05460-RBL         Document 133       Filed 10/13/06     Page 2 of 5



 1          b.     Approximately $22,000.00 in proceeds from the interlocutory sale of one
 2   (1) 2002 Chevrolet Tahoe, VIN 1GNEK13Z42R148707;
 3          c.     Approximately $55,124.37 representing the cash balance and proceeds from
 4   the sale of securities frozen in Southwest Securities Account No. *****7315;
 5          d.     Approximately $82,620.70 representing the cash balance and proceeds from
 6   the sale of securities frozen in Southwest Securities Account No. *****9847;
 7          e.     Approximately $32,936.31 representing the cash balance and proceeds from
 8   the surrender of Northwestern Mutual Policy No. ****5904;
 9          f.     Approximately $14,811.14 in proceeds from the Insurance Service Account,
10   Northwest Mutual Life;
11          g.     Approximately $141,593.71 in U.S. Currency seized at 23501 NE 120th
12   Court, Battle Ground, Washington;
13          h.     Approximately $146,624.17 in proceeds from Riverview Community Bank
14   Account No. ******7967, held in the name of FBSS Tech; and
15          i.     Approximately $146,624.71 in proceeds from Riverview Community Bank
16   Account No. ******7325, held in the name of Twenty First Century E-Software.
17          IT IS FURTHER ORDERED that pursuant Title 18, United States Code,
18   Section 2318(d), all counterfeit labels or illicit labels and all articles to which counterfeit
19   labels or illicit labels have been affixed or which were intended to have had such labels
20   affixed, and any equipment, device, or material used to manufacture, reproduce, or
21   assemble the counterfeit labels or illicit labels, are hereby forfeited to the United States of
22   America and may be destroyed or otherwise disposed of, including but not limited to, all
23   such items seized from:
24          a.     6518 NE 47th Street, Vancouver, Washington 98661;
25          b.     23501 NE 120th Court, Battle Ground, Washington 98604;
26          c.     237 NE Chaklov Drive, Suite 112, Vancouver, Washington 98684;
27          d.     3315 NE 112th Avenue, Suites A42, A43, and A44, Vancouver,
28   Washington 98682;

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                                                                                              (206) 553-7970
            Case 3:04-cr-05460-RBL         Document 133        Filed 10/13/06    Page 3 of 5



 1          e.     7929 NE St. Johns Blvd., Vancouver, Washington 98665; and
 2          f.     35811 NE Lewisville Highway, Yacolt, Washington.
 3          IT IS FURTHER ORDERED that the United States Marshals Service shall seize
 4   the above-described properties and maintain such seized properties in its custody and
 5   control until further order of this Court, or until this Order becomes final pursuant to
 6   Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure.
 7          IT IS FURTHER ORDERED that pursuant to Title 21, United States Code,
 8   Section 853(n), the United States shall publish notice of the Preliminary Order of
 9   Forfeiture and of the intent of the United States to dispose of the properties in accordance
10   with law. The notice shall run for one (1) day each week for three (3) consecutive weeks
11   in the Daily Journal of Commerce and/or any other appropriate newspaper of general
12   circulation. The notice shall state that any person, other than the defendant, having or
13   claiming a legal interest in the above-described properties must file a petition with the
14   Court within thirty (30) days of the final publication of notice or of receipt of actual
15   notice, whichever is earlier.
16          The notice shall advise such interested persons that:
17          1.     the petition shall be for a hearing to adjudicate the validity of the
18                 petitioner’s alleged interest in such property;
19          2.     the petition shall be signed by the petitioner under penalty of perjury; and
20          3.     the petition shall set forth the nature and extent of the petitioner’s right,
21                 title, or interest in the forfeited property.
22          The petition shall also set forth any additional facts supporting the petitioner’s
23   claim and the relief sought.
24          The United States shall also, to the extent possible, provide direct written notice as
25   a substitute for the published notice to any person known to have an alleged interest in
26   the above-described properties that are the subject of this Preliminary Order of Forfeiture.
27   Upon adjudication of any third party claims, this Court will enter a Final Order of
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     PRELIMINARY ORDER OF FORFEITURE/LANEY - 3                                       UNITED STATES ATTORNEY
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                                                                                              (206) 553-7970
            Case 3:04-cr-05460-RBL        Document 133       Filed 10/13/06   Page 4 of 5



 1   Forfeiture pursuant to Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure, in
 2   which all such claims will be addressed.
 3          IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(3) of the Federal Rules
 4   of Criminal Procedure, this Preliminary of Forfeiture shall become final as to the
 5   defendant at the time of sentencing and shall be made part of the sentence and included in
 6   the judgment. Based upon the Plea Agreement and the guilty plea entered by the
 7   defendant herein, the Court finds that the defendant had an interest in the forfeited
 8   properties listed above. If no third party files a timely claim, this Order shall become the
 9   Final Order of Forfeiture as provided by Rule 32.2(c)(2) of the Federal Rules of Criminal
10   Procedure.
11          IT IS FURTHER ORDERED that after the disposition of any motion filed under
12   Rule 32.2(c)(1)(A) of the Federal Rules of Criminal Procedure and before a hearing on
13   any third party petition, discovery may be conducted in accordance with the Federal
14   Rules of Civil Procedure upon a showing that such discovery is necessary or desirable to
15   resolve factual issues.
16          IT IS FURTHER ORDERED that the United States shall have clear title to the
17   above-described properties following the Court’s disposition of all third party interests,
18   or, if none, following the expiration of the period provided in Title 21, United States
19   Code, Section 853(n), for the filing of third party petitions.
20          IT IS FURTHER ORDERED that the Court shall retain jurisdiction to enforce this
21   Order, and to amend it as necessary, pursuant to Rule 32.2(e) of the Federal Rules of
22   Criminal Procedure.
23   ////
24   ////
25   ////
26   ////
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     PRELIMINARY ORDER OF FORFEITURE/LANEY - 4                                    UNITED STATES ATTORNEY
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                                                                                           (206) 553-7970
           Case 3:04-cr-05460-RBL        Document 133       Filed 10/13/06    Page 5 of 5



 1          The Clerk of the Court is hereby directed to send a copy of this Preliminary Order
 2   of Forfeiture to all counsel of record and twenty-seven (27) “raised seal” certified copies
 3   to the United States Marshals Service in Seattle, Washington.
 4          DATED this 13th day of October, 2006.
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10                                             FRANKLIN D. BURGESS
11
                                               United States District Judge

12   Presented by:
       s/Annette Hayes
13   ANNETTE L. HAYES
14
     Assistant United States Attorney

15

16    s/Leonie Grant
17   LEONIE G.H. GRANT
     Assistant United States Attorney
18

19

20    s/Richard Troberman
     RICHARD J. TROBERMAN
21   Attorney for Defendant Laney
22

23
      s/Scott Laney
24   SCOTT LANEY
     Defendant
25

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     PRELIMINARY ORDER OF FORFEITURE/LANEY - 5                                    UNITED STATES ATTORNEY
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                                                                                           (206) 553-7970
